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July 18, 2024

To: Hon. F. Kay Biem

&

My name is Debra Dunn, | am the mother of Nicholas Alan Dunn. Iam currently a
employee at the City of Saginaw, in the Maintenance/Janitorial Department. | also
volunteer at the Saginaw County Animal Care & Control, as well as other volunteer
work in the community with various organizations.

Nicholas Alan Dunn was an excellent student throughout his entire school years,
receiving praises from various teachers for his high accomplishments in his
academic career. Nicholas is an avid reader of various books and novels and is a
whiz kid at building computers from scratch. He is very wise in the Technology
field.

| am proud to be his mother and | love my son deeply. | am hurt over this incident
that has occurred in his life, it has devastated my life and that of his family. 1am
deeply troubled by everything that has happened, never in my lifetime did | think
such a thing would happen.

Your Honor, | am asking that you have mercy on my son in sentencing time, which
| have come to realize he must do and impose the minimum time allowed for this
offense. He has never been in trouble before and he Is not a threat to society.

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With the help of counseling and time served | feel that he can once again become
a productive and up standing man that I raised him to be. | had no control over
the choice of people he allowed in his life, and | feel through reform he can make
better choices.

Thank You

Obra uc

Debra Dunn

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